        Case 3:18-cv-00223-BAJ-RLB             Document 46     12/09/19 Page 1 of 11




                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

WILFRED GUY                                  *  CIVIL ACTION
                                             *
VERSUS                                       *  NO. 18-223-BAJ-RLB
                                             *
JAMES LEBLANC, in his official capacity; and *  JUDGE BRIAN A. JACKSON
THE STATE OF LOUISIANA, DEPARTMENT *            MAGISTRATE JUDGE
OF PUBLIC SAFETY & CORRECTIONS               *  RICHARD L. BOURGEOIS, JR.
******************************************************************************
                  ANSWER AND AFFIRMATIVE DEFENSES TO
                  PLAINTIFF’S FIRST AMENDED COMPLAINT

       NOW INTO COURT, through undersigned counsel, come the defendants, the State of

Louisiana through the Department of Public Safety and Corrections (DPSC) and James LeBlanc,

in his official capacity (collectively referred to as the DPSC Defendants), who, submit the

following Affirmative Defenses and Answer to the Plaintiff’s First Amended Complaint. Rec.

Doc. 45.

                                  AFFIRMATIVE DEFENSES

FIRST DEFENSE - FAILURE TO STATE A CLAIM

       Plaintiff has failed to state a claim upon which relief can be granted because there are

insufficient factual allegations indicating that either or both of the Defendants violated any of

Plaintiff’s rights under applicable federal law.

SECOND DEFENSE - COMPENSATORY DAMAGES

       Plaintiff is not entitled to recover damages for mental or emotional distress under Title II

of the Americans with Disabilities Acts (“ADA”) or §504 of the Rehabilitation Act of 1973

(“Rehab Act”).

THIRD DEFENSE – DENIAL OF OTHER RELIEF
                                                   1
         Case 3:18-cv-00223-BAJ-RLB              Document 46        12/09/19 Page 2 of 11



        Plaintiff is not entitled to any of the relief that he seeks in his Complaint.

FOURTH DEFENSE – ATTORNEYS’ FEES

        Plaintiff is not entitled to recover for attorneys’ fees or costs associated with this litigation.

FIFTH DEFENSE- PRESCRIPTION

        Plaintiff is not entitled to relief for any claims occurring over than one year prior to the

filing of the Complaint.

SIXTH DEFENSE- STANDING (OTHER PRISONERS)

        Plaintiff lacks standing to seek relief under the ADA or the Rehabilitation Action with

respect to accommodations solely affecting other inmates.

SEVENTH DEFENSE - STANDING (INJUNCTIVE RELIEF)

        Plaintiff lacks standing to recover any injunctive relief, as he has not suffered or will not

suffer a “injury in fact.”

EIGHTH DEFENSE – FAILURE TO EXHAUST

        Plaintiff has failed to exhaust administrative remedies as to some or all of the claims

asserted in his complaint, as required by state and federal law.

                                              ANSWER

        AND NOW, in answer to the First Amended Complaint of Wilfred Guy:

  I.    The allegations contained in Paragraph 1 of the Plaintiff’s First Amended Complaint are

        denied for lack of sufficient information to justify a reasonable belief therein.

 II.    The allegations contained in Paragraph 2 of the Plaintiff’s First Amended Complaint are

        denied for lack of sufficient information to justify a reasonable belief therein.

III.    The allegations contained in Paragraph 3 of the Plaintiff’s First Amended Complaint are

        denied for lack of sufficient information to justify a reasonable belief therein.

                                                    2
        Case 3:18-cv-00223-BAJ-RLB              Document 46       12/09/19 Page 3 of 11



 IV.    The allegations contained in Paragraph 4 of the Plaintiff’s First Amended Complaint are

        denied for lack of sufficient information to justify a reasonable belief therein.

  V.    The allegations contained in Paragraph 5 of the Plaintiff’s First Amended Complaint are

        denied for lack of sufficient information to justify a reasonable belief therein.

 VI.    The allegations contained in Paragraph 6 of the Plaintiff’s First Amended Complaint are

        denied for lack of sufficient information to justify a reasonable belief therein.

VII.    The allegations contained in Paragraph 7 of the Plaintiff’s First Amended Complaint are

        denied for lack of sufficient information to justify a reasonable belief therein.

VIII.   The Defendants agree this Honorable Court has subject matter jurisdiction over the

        instant matter but, as stated above, the Plaintiff’s standing to bring claims for prospective

        injunctive relief is challenged.

 IX.    The Defendants agree that venue is proper in the Middle District of Louisiana.

  X.    The Defendants admit the Plaintiff, Wilfred Guy (DOC No. 111795) is a prisoner

        confined in the Louisiana State Penitentiary at Angola, that he has capacity to file suit,

        and was a resident of the Middle District of Louisiana. The legal conclusion that the

        Plaintiff is a person with a qualifying disability does not require an Answer from the

        Defendants. The allegations that the Plaintiff’s allegedly-qualifying disability prevents

        him from engaging in major life activities such as using the phone, communicating

        verbally, and other daily activities are denied for lack of sufficient information to justify a

        reasonable basis therein.

 XI.    Secretary James LeBlanc admits his status as a Defendant in this case but denies that he

        is a proper party to this action.




                                                   3
         Case 3:18-cv-00223-BAJ-RLB             Document 46        12/09/19 Page 4 of 11



  XII.   The State of Louisiana, through the Department of Public Safety and Corrections admits

         its status as a Defendant. All other allegations contained in Paragraph 12 of Plaintiff’s

         First Amended Complaint are denied for lack of sufficient information to justify a

         reasonable belief therein.

 XIII.   The above Affirmative Defenses and Answer to Paragraphs 1-12 of Plaintiff’s First

         Amended Complaint are hereby adopted.

 XIV.    The allegations contained in Paragraph 14 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

  XV.    The allegations contained in Paragraph 15 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

 XVI.    The allegations contained in Paragraph 16 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

XVII.    The allegations contained in Paragraph 17 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

XVIII.   The allegations contained in Paragraph 18 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

 XIX.    The allegations contained in Paragraph 19 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

  XX.    The allegations contained in Paragraph 20 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

 XXI.    The allegations contained in Paragraph 21 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.




                                                   4
          Case 3:18-cv-00223-BAJ-RLB             Document 46        12/09/19 Page 5 of 11



  XXII.   The allegations contained in Paragraph 22 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

 XXIII.   The allegations contained in Paragraph 23 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

 XXIV.    The allegations contained in Paragraph 24 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

  XXV.    The allegations contained in Paragraph 25 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

 XXVI.    The allegations contained in Paragraph 26 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

XXVII.    The allegations contained in Paragraph 27 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

XXVIII.   The allegations contained in Paragraph 28 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

 XXIX.    The allegations contained in Paragraph 29 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

  XXX.    The allegations contained in Paragraph 30 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

 XXXI.    The allegations contained in Paragraph 31 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

XXXII.    The allegations contained in Paragraph 32 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.




                                                    5
            Case 3:18-cv-00223-BAJ-RLB             Document 46        12/09/19 Page 6 of 11



 XXXIII.    The allegations contained in Paragraph 33 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

 XXXIV.     The allegations contained in Paragraph 34 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

 XXXV.      The allegations contained in Paragraph 35 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

 XXXVI.     The allegations contained in Paragraph 36 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

XXXVII.     The allegations contained in Paragraph 37 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

XXXVIII.    The allegations contained in Paragraph 38 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

 XXXIX.     The allegations contained in Paragraph 39 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

     XL.    The allegations contained in Paragraph 40 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

    XLI.    The allegations contained in Paragraph 41 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

   XLII.    The allegations contained in Paragraph 42 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.

   XLIII.   The allegations contained in Paragraph 43 of Plaintiff’s First Amended Complaint are

            denied for lack of sufficient information to justify a reasonable belief therein.




                                                      6
           Case 3:18-cv-00223-BAJ-RLB              Document 46       12/09/19 Page 7 of 11



 XLIV.     The allegations contained in Paragraph 44 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

  XLV.     The allegations contained in Paragraph 45 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

 XLVI.     The allegations contained in Paragraph 46 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

XLVII.     The allegations contained in Paragraph 47 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

XLVIII.    The allegations contained in Paragraph 48 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

 XLIX.     The allegations contained in Paragraph 49 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

     L.    The allegations contained in Paragraph 50 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

    LI.    The allegations contained in Paragraph 51 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein. The

           allegations contained in Paragraph 42 of Plaintiff’s First Amended Complaint are denied

           for lack of sufficient information to justify a reasonable belief therein.

   LII.    The allegations contained in Paragraph 52 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

   LIII.   The allegations contained in Paragraph 53 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.




                                                      7
         Case 3:18-cv-00223-BAJ-RLB             Document 46        12/09/19 Page 8 of 11



 LIV.    The allegations contained in Paragraph 54 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

  LV.    The allegations contained in Paragraph 55 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

 LVI.    The allegations contained in Paragraph 56 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

LVII.    The allegations contained in Paragraph 57 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

LVIII.   The allegations contained in Paragraph 58 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

 LIX.    The allegations contained in Paragraph 59 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

  LX.    The allegations contained in Paragraph 60 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

 LXI.    The allegations contained in Paragraph 61 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

LXII.    The allegations contained in Paragraph 62 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

LXIII.   The allegations contained in Paragraph 63 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.

LXIV.    The allegations contained in Paragraph 64 of Plaintiff’s First Amended Complaint are

         denied for lack of sufficient information to justify a reasonable belief therein.




                                                   8
          Case 3:18-cv-00223-BAJ-RLB             Document 46        12/09/19 Page 9 of 11



  LXV.    The allegations contained in Paragraph 65 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

 LXVI.    The allegations contained in Paragraph 66 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

LXVII.    The allegations contained in Paragraph 67 of Plaintiff’s First Amended Complaint are

          denied for lack of sufficient information to justify a reasonable belief therein.

LXVIII.   The Affirmative Defenses and Answer to Paragraphs 1-67 of Plaintiff’s First Amended

          Complaint are hereby adopted.

 LXIX.    The allegations contained in Paragraph 69 of the Plaintiff’s First Amended Complaint are

          quoted from a statute and do not require an Answer from the Defendants.

  LXX.    The allegations contained in Paragraph 70 of the Plaintiff’s First Amended Complaint are

          quoted from a statute and do not require an Answer from the Defendants.

 LXXI.    The allegations contained in Paragraph 71 of the Plaintiff’s First Amended Complaint are

          quoted from regulations and do not require an Answer from the Defendants.

LXXII.    The allegations contained in Paragraph 72 of the Plaintiff’s First Amended Complaint are

          legal conclusions which do not require an Answer from the Defendants.

LXXIII.   The allegations contained in Paragraph 73 of the Plaintiff’s First Amended Complaint are

          legal conclusions which do not require an Answer from the Defendants.

LXXIV.    The allegations contained in Paragraph 74 of the Plaintiff’s First Amended Complaint are

          legal conclusions which do not require an Answer from the Defendants.

LXXV.     The mixture of legal conclusions and factual allegations in Paragraph 75 of the Plaintiff’s

          First Amended Complaint are denied for lack of sufficient information to justify a

          reasonable belief therein.



                                                    9
           Case 3:18-cv-00223-BAJ-RLB             Document 46       12/09/19 Page 10 of 11



 LXXVI.    Defendant DPSC admits to receiving federal funds; Defendant LeBlanc denies receiving

           federal funds.

LXXVII.    The allegations contained in Paragraph 77 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

LXXVIII.   The allegations contained in Paragraph 78 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

 LXXIX.    The allegations contained in Paragraph 79 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

 LXXX.     The allegations contained in Paragraph 80 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

 LXXXI.    The allegations contained in Paragraph 81 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

LXXXII.    The allegations contained in Paragraph 82 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

LXXXIII.   The allegations contained in Paragraph 83 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

LXXXIV.    The allegations contained in Paragraph 84 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

LXXXV.     The allegations contained in Paragraph 85 of Plaintiff’s First Amended Complaint are

           denied for lack of sufficient information to justify a reasonable belief therein.

LXXXVI.    Regarding the allegations and claims for relief in Paragraph 86 of Plaintiff’s First

           Amended Complaint, the Defendants deny all relief prayed for.




                                                     10
        Case 3:18-cv-00223-BAJ-RLB            Document 46       12/09/19 Page 11 of 11



        WHEREFORE, the Defendants pray that, after due proceedings are had, that judgment be

rendered in favor of the Defendants and against the Plaintiff dismissing all claims with prejudice

and at the Plaintiff’s cost.

                                              Respectfully Submitted,

                                              JEFF LANDRY
                                              ATTORNEY GENERAL

                                      BY:     s/Phyllis E. Glazer
                                              PHYLLIS E. GLAZER (#29878)
                                              ASSISTANT ATTORNEY GENERAL

                                              Louisiana Department of Justice
                                              Litigation Division, Civil Rights Section
                                              1885 North Third Street, 4th Floor
                                              Post Office Box 94005 (70804-9005)
                                              Baton Rouge, Louisiana 70802
                                              Telephone:     225-326-6300
                                              Facsimile:     225-326-6495
                                              E-mail:        GlazerP@ag.louisiana.gov
                                              Attorney for the DPSC Defendants


                                 CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on December 9, 2019, the foregoing was filed electronically

with the Clerk of Court by using the CM/ECF system which will provide a Notice of Electronic

Filing to all counsel of record. I further certify that all parties to this action are represented by

CM/ECF participants.

                                      s /Phyllis E. Glazer __        _____
                                    PHYLLIS E. GLAZER
                                   Assistant Attorney General




                                                 11
